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IN THE UNITED STATES DISTRICT COURT ` '
FOR THE WESTERN DISTRICT OF TENNESSEH`$ HAY m PH 5: 23

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CARROLL CAUDLE, ) 7 4 w :l"`-MCKSON
)
Plaintiff, )
)

vs. ) No. 1-03-1263

)
10 ANNE BARNHART, )
COMMISSIONER oF soCIAL )
sECURiTY, )
)
Defendant. )

 

ORDER REQUIRING ADDITIONAL BRIEFS

 

On April 25, 2005, this court granted PlaintiffCarroll Caudle’s motion for approval
of attorney’s fees pursuant to the Social Security Act, 42 U.S.C. § 406(b), and the Equal
Access to Justice Act (“EAJA”), 28 U.S.C. § 2412(d). The court order found that the
$12,025.00 amount requested by Plaintiff and his counsel Was reasonable, however, that
amount was to be offset by the $5,000.00 already paid to counsel under the EAJA pursuant
to the court’s order on October 5, 2004. Thus, the April 25th order approved a fee of
$7,025.00 under § 406(b), to be directly forwarded to Plaintiff"s counsel out ofthe past-due
benefits withheld.

Before the court is Defendant’s motion to amend the April 25th order. Plaintiff

responded. Due to the convoluted nature of the parties’ memoranda, however, the court

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cannot rule on the pending motion at this time. Defendant is ordered to prepare a clear,
concise brief identifying the issue and the relevant facts of this motion within ten (10) days
cf this order. Plaintiff will then have ten (10) days to respond with a clear, concise reply
brief. The court Will find it helpful if the parties Will set forth their positions describing
exactly the relief sought, why that relief is justified under the law, and why the previous
order should or should not be amended. Plaintiff is also encouraged to include in his brief
only the facts relevant to the issue under consideration A long chronology of the
Secretary`s misdeeds in this case will not be helpful to the court in deciding the fee issue.
In fact, such extraneous matters make it more difficult for the court to decide the relatively

simple (one would have thought) issue of how to get an attorney’s fee awarded.

IT IS SO ORDERED.

AM%DQM%

D TODD
UNI D STATES DISTRICT JUDGE

/M/l/»a amf

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 1:03-CV-01263 was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

